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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 14-5146                                                September Term, 2013
                                                                      1:11-cv-00477-RJL
                                                     Filed On: July 24, 2014
In re: United States of America,

             Petitioner


      BEFORE:       Brown, Millett, and Pillard, Circuit Judges

                                        ORDER

       Upon consideration of the petition for a writ of mandamus and emergency motion
for administrative stay and the appendix, the responses and supplements thereto, and
the reply, it is

        ORDERED that the petition for a writ of mandamus be granted. The district
court is hereby ordered to quash the subpoenas for the deposition of Secretary Vilsack.
It is well-established that “top executive department officials should not, absent
extraordinary circumstances, be called to testify regarding their reasons for taking
official actions.” Simplex Time Recorder Co. v. Secretary of Labor, 766 F.2d 575, 586
(D.C. Cir. 1985); see also Peoples v. USDA, 427 F.2d 561, 567 (D.C. Cir. 1970)
(“[S]ubjecting a cabinet officer to oral deposition is not normally countenanced.”). As
such extraordinary circumstances are not present in this record, the district court
abused its discretion by allowing the deposition of Secretary Vilsack at this stage in the
proceedings. Accordingly, petitioner has shown a clear and indisputable right to relief.
See Gulfstream Aerospace Corp. v. Mayacamas Corp., 485 U.S. 271, 289 (1988). In
addition, petitioner has no other adequate means of obtaining relief. See In re Cheney,
544 F.3d 311, 314 (D.C. Cir. 2008). It is

      FURTHER ORDERED that the emergency motion for administrative stay be
dismissed as moot.

      Pursuant to D.C. Circuit Rule 36, this disposition will not be published.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Timothy A. Ralls
                                                         Deputy Clerk
